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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                    NORTHERN DIVISION


 MICHELLE SHAFER, on behalf of the                    ORDER TO PROPOSE SCHEDULE
 ESTATE OF ASHLEY EVAN JESSOP,

                Plaintiff,

 v.                                                       Case No. 1:18-cv-00020-PMW

 WEBER COUNTY, by and through the
 Weber County Board of Commissioners, et
 al.,

                Defendants.                         Chief Magistrate Judge Paul M. Warner


       To secure the just, speedy, and inexpensive determination of every action and proceeding

and fulfill the purposes of Rules 16 and 26 of the Federal Rules of Civil Procedure, IT IS

HEREBY ORDERED:

       1.      Plaintiff must propose a schedule to Defendant(s) in the form of a draft Attorney

               Planning Meeting Report, and within thirty (30) days of the date of this order, the

               parties shall meet and confer and do one of the following.

               a.     File a jointly signed Attorney Planning Meeting Report and also e-mail a

                      stipulated Proposed Scheduling Order in word processing format to

                      ipt@utd.uscourts.gov; or
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        b.     If the parties cannot agree on a Proposed Scheduling Order, Plaintiff must

               file a jointly signed Attorney Planning Meeting Report detailing the nature

               of the parties’ disputes and must also file a stipulated Motion for Initial

               Scheduling Conference; or

        c.     If the parties fail to agree on an Attorney Planning Meeting Report or on a

               stipulated Motion for Initial Scheduling Conference, Plaintiff must file a

               Motion for Initial Scheduling Conference, which must include a statement

               of Plaintiff’s position as to the schedule. Any response to such a motion

               must be filed within seven (7) days.

2.      In the absence of filing a stipulated Proposed Scheduling Order, the parties must

        be prepared to address the following issues, in addition to those raised by the

        Attorney Planning Meeting Report:

        a.     What 2-3 core factual or legal issues are most likely to be determinative of

               this dispute?

        b.     Who are the 1-3 most important witnesses each side needs to depose? Is

               there any reason these witnesses cannot be deposed promptly?

        c.     What information would be most helpful in evaluating the likelihood of

               settlement? Is there any reason it cannot be obtained promptly?

        d.     Briefly describe the crucial facts, primary claims, and primary defenses.

        e.     Are all claims for relief necessary or are they overlapping? Can any claim

               for relief be eliminated to reduce discovery and expense?




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        f.     Are all pleaded defenses truly applicable to this case? Can any be

               eliminated?

        g.     What could be done at the outset to narrow and target the discovery in this

               case?

        h.     What agreements have the parties reached regarding limitations on

               discovery, including discovery of ESI?

        i.     Is there a need to schedule follow-up status conferences?

3.      Each party shall make initial disclosures within forty-two (42) days after the first

        answer is filed. This deadline is not dependent on the filing of an Attorney

        Planning Meeting Report, the entry of a Scheduling Order, or the completion of an

        Initial Scheduling Conference.

4.      The parties are urged to propose a schedule providing for:

        a.     Fact discovery completion no more than six (6) months after the filing of

               the first answer.

        b.     Expert reports from the party with the burden of proof on that issue

               twenty-eight (28) days after the completion of fact discovery, and

               responsive reports twenty-eight (28) days thereafter.

        c.     Expert discovery completion twenty-eight (28) days after filing of an

               expert’s report.




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      d.     Dispositive motion filing deadline no more than ten (10) months after the

             filing of the first answer.

IT IS SO ORDERED.

DATED this 8th day of May, 2018.

                                    BY THE COURT:




                                    PAUL M. WARNER
                                    Chief United States Magistrate Judge




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